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                                                                          U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                                    FILED
                                                                               Feb 14 - 2024
                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK
                                                                                John M. Domurad, Clerk




    SALVATORE TANTILLO
                   Plantiff,


.                                                                              Extension
                                                                            Civil Action No.
                                                                             3:23-cv-1447
                                                                               (TJM/ML)



COMPLETE CLAIMS SERVICES, L.L.C.
, etc....
               Defendants,




                    REQUEST FOR EXTENSION OF TIME TO PROPERLY SERVE
                        SUMMONS TO COMPLETE CLAIMS SERVICES


         The Plantiff is requesting the extension of time to serve Complete Claims Service, L.L.C., It
has been brought to my attention after a review of the motion recently received Via. First class mail
from Complete Claims Services. Please grant the extension of time so proper service can be made.
Respectfully Salvatore Tantillo




Date: February 14,2024                                             Plantiff: Pro Se, S/ Salvatore Tantill
